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               EXHIBIT E
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                                         February 25, 2025

Attorney General Ellison and Executive Director Martens,

        This Department of Justice will hold accountable states and state entities that violate
federal law. Indeed, we have already begun to do so. Earlier this month, the Department of
Justice sued two states-Illinois and New York-that defied federal immigration laws. We also
stand ready to sue states and state entities that defy federal antidiscrimination laws.

        President Trump recently directed the Department of Justice and the Department of
Education to prioritize enforcement actions against athletic associations that deny girls an equal
opportunity to participate in sports and athletic events by requiring them to compete against
boys. Yet in response, state athletic associations-including Minnesota's-have issued defiant
statements saying that they would continue requiring girls to compete against boys in sports and
athletic events. Attorney General Ellison has since issued a legal opinion asserting that the
Minnesota State High School League would be violating state law unless it continues this
demeaning, unfair, and dangerous practice. And he has shamefully described the federal
government's attempts to enforce federal antidiscrimination laws as "authoritarian bullying."

         Let me be clear. Requiring girls to compete against boys in sports and athletic events
violates Title IX of the Educational Amendments Act of 1972. And under the Constitution,
federal law-including Title IX-is "the supreme Law of the Land." U.S. Const. Art. VI. It
therefore does not matter if Minnesota state law allows, or even requires, state athletic
associations or other similar entities to require girls to compete against boys in sports and athletic
events. Where federal and state law conflict, states and state entities are required to follow
federal law-not because we live in an authoritarian state, but because the Constitution requires
states to follow the supreme law of the land.

       Minnesota should be on notice. The Department of Education's Office of Civil Rights
has begun a Title IX investigation into the Minnesota State High School League. If the
Department of Education's investigation shows that relevant Minnesota entities are indeed
denying girls an equal opportunity to participate in sports and athletic events by requiring them
to compete against boys, the Department of Justice stands ready to take all appropriate action to
enforce federal law.
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        I hope that it does not come to this. The Department of Justice does not want to have to
sue states or state entities, or to seek termination of their federal funds. We only want states and
state entities to comply with the law. And federal law requires giving girls an equal opportunity
to participate in sports and athletic events by ensuring that girls need to compete only with other
girls, not with boys.




                                                      Attorney General
